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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

ANN MARIE ATTRIDGE,                               §
                                                  §
                                                  §
       Plaintiffs,                                §
                                                  §
v.                                                §       Civil Action No. 5:20-cv-00205-OLG
                                                  §
COLONIAL SAVINGS, F.A. and                        §
TRANSUNION, LLC,                                  §
                                                  §
       Defendant.                                 §

                     JOINT LIST OF STIPULATED FACTS FOR TRIAL

       COMES NOW, Plaintiff Ann Marie Attridge (“Ann Attridge” or “Plaintiff”) and

Defendant Colonial Savings, F.A. (“Colonial” or “Defendant”) and, pursuant to Local Rule CV-

16(f) and the current scheduling order, files this List of Stipulated Facts for Trial.

       1.       Ann Attridge was a borrower on a mortgage loan with Colonial dated May 19,

2011, which was in the amount of $130,00.00 and secured by the property and residence located

at 21207 Rio Sabinal, San Antonio, TX 78259.

       2.       In August 2015, Colonial reported to the Credit Reporting Agencies (“CRAs”)

that Ms. Attridge had filed a Chapter 7 bankruptcy petition through the issuance of a Consumer

Information Indicator (“CII”).

       3.       The code on the CII that Colonial issued was an “E.”

       4.       The Metro 2 credit-reporting manual states that a code “E” means that the subject

debtor received a discharge in a Chapter 7 bankruptcy case.

       5.       In 2019, Ms. Attridge applied for employment with Pentagon Federal Credit

Union (“Penfed”).



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        6.       PenFed contracted with HireRight, LLC (“HireRight”) to perform a background

check of Ms. Attridge, including checking her credit report.

        7.       HireRight informed Ms. Attridge that Colonial had reported that Ms. Attridge had

received a Chapter 7 discharge.

        8.       Ms. Attridge submitted an online dispute to Colonial and sent an email to

Colonial on April 23, 2019 to dispute the report of a bankruptcy on her record.

        9.       Credit reporting agencies, like TransUnion, use Automated Credit Dispute

Verifications (“ACDV”) to inform credit furnishers about disputes that consumers have made

regarding credit reporting.

        10.      On April 26, 2019, TransUnion submitted an ACDV to Colonial an and identified

therein Ms. Attridge’s dispute about the bankruptcy reporting.

        11.      On May 14, 2019, Colonial responded to the ACDV from TransUnion.

        12.      A credit furnisher, such as Colonial, can inform a credit reporting agency, like

TransUnion, to correct prior credit reporting by sending an Automated Universal Data (“AUD”)

form.

        13.      On April 29, 2019, Colonial issued an AUD to TransUnion.

        14.      In the April 29, 2019 AUD, the reporting for each of the months indicated was

changed from from “-” to “0.”

        15.      In the April 29, 2019 AUD, the CII Code was changed from “E” to blank.

        16.      The April 29, 2019 AUD shows the balance owed on the debt was $111,086.00.

        17.      On April 30, 2019, Colonial issued its response to TransUnion’s April 26, 2019

ACDV.




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         18.    In the April 30, 2019 ACDV response, the reporting for each of the months

indicated was changed from “-” to “0.”

         19.    In the April 30, 2019 ACDV response, the CII Code was changed from “E” to

blank.

         20.    The April 30, 2019 ACDV response shows the balance owed on the debt was

$111,086.00.

         21.    On May 1, 2019 Colonial sent a letter Ms. Attridge to respond to her April 23,

2019 online and email disputes.

         22.    TransUnion continued to report an “E” CII Code.

         23.    TransUnion submitted another ACDV to Colonial on May 31, 2019.

         24.    Colonial responded to the May 31, 2019 ACDV on June 14, 2019.

         25.    In the June 14, 2019 ACDV response, the reporting for each of the months

indicated was changed from “-” to “0.”

         26.    In the June 14, 2019 ACDV response, the CII Code was changed from “E” to

blank.

         27.    The June 14, 2019 ACDV response shows the balance owed on the debt was

$110,605.00.

         28.    TransUnion continued to report an “E” CII Code.

         29.    On October 10, 2019, TransUnion submitted another ACDV to Colonial.

         30.    Colonial responded to the October 10, 2019 ACDV from TransUnion on October

15, 2019.

         31.    In the October 15, 2019 ACDV response, the reporting for each of the months

indicated was changed from “-” to “0.”



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         32.   In the October 15, 2019 ACDV response, the CII Code was changed from “E” to

blank.

         33.   The June 14, 2019 ACDV response shows the balance owed on the debt was

$108,547.00.

         34.   The loan was paid off on February 21, 2020.

         35.   Plaintiff settled with Defendant TransUnion for $27,500.00.

         36.   TransUnion stopped reporting the bankruptcy in or about May 2019.

                                                   Respectfully submitted,

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                               CERTIFICATE OF SERVICE

      I hereby certify that on July 13, 2022, a true and correct copy of the foregoing was served
via ECF notification on the following counsel of record:

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                                                     /s/ Mark D. Cronenwett
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